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  9   Western Riverside Council of Governments
      and City of Beaumont
 10
 11                                  UNITED STATES DISTRICT COURT
 12                                 CENTRAL DISTRICT OF CALIFORNIA
 13                                          EASTERN DIVISION
 14
 15   WESTERN RIVERSIDE COUNCIL OF                      Case No. 5:20-cv-02164-GW-KK
      GOVERNMENTS, a California Joint
 16   Powers Authority,                                 STIPULATED PROTECTIVE
                                                        ORDER
 17                            Plaintiff,
                                                        Trial Date:        N/A
 18            v.                                       Complaint Filed:   November 30, 2020
 19   NATIONAL UNION FIRE
      INSURANCE COMPANY OF
 20   PITTSBURGH, PA. and DOES 1
      through 50, inclusive,
 21
                               Defendants.
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  1            For good cause shown, pursuant to Fed. R. Civ. P. 26(c), Western Riverside
  2   Council of Governments, the City of Beaumont, and National Union Fire Insurance
  3   Company of Pittsburgh, Pa., through their undersigned counsel, jointly submit this
  4   Stipulated Protective Order to govern the handling of information and materials
  5   produced in the course of discovery or filed with the Court in this action.
  6
  7   IT IS HEREBY STIPULATED THAT:
  8
  9   1.       A. PURPOSES AND LIMITATIONS
 10            Discovery in this action is likely to involve production of confidential,
 11   proprietary, or private information for which special protection from public
 12   disclosure and from use for any purpose other than prosecuting this litigation may be
 13   warranted. Accordingly, the parties hereby stipulate to and petition the Court to enter
 14   the following Stipulated Protective Order. The parties acknowledge that this Order
 15   does not confer blanket protections on all disclosures or responses to discovery and
 16   that the protection it affords from public disclosure and use extends only to the
 17   limited information or items that are entitled to confidential treatment under the
 18   applicable legal principles. The parties further acknowledge, as set forth in Section
 19   12.3, below, that this Stipulated Protective Order does not entitle them to file
 20   confidential information under seal; Civil Local Rule 79-5 sets forth the procedures
 21   that must be followed and the standards that will be applied when a party seeks
 22   permission from the court to file material under seal.
 23            B. GOOD CAUSE STATEMENT
 24            This action is likely to involve confidential and/or sensitive commercial,
 25   financial, technical and/or proprietary information for which special protection from
 26   public disclosure and from use for any purpose other than prosecution of this action
 27   is warranted. Such confidential and proprietary materials and information consist of,
 28   among other things, confidential business or financial information, information

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  1   regarding confidential business practices, or other confidential commercial
  2   information (including information implicating privacy rights of third parties),
  3   information otherwise generally unavailable to the public, or which may be
  4   privileged or otherwise protected from disclosure under state or federal statutes, court
  5   rules, case decisions, or common law. Accordingly, to expedite the flow of
  6   information, to facilitate the prompt resolution of disputes over confidentiality of
  7   discovery materials, to adequately protect information the parties are entitled to keep
  8   confidential, to ensure that the parties are permitted reasonable necessary uses of such
  9   material in preparation for and in the conduct of trial, to address their handling at the
 10   end of the litigation, and serve the ends of justice, a protective order for such
 11   information is justified in this matter. It is the intent of the parties that information
 12   will not be designated as confidential for tactical reasons and that nothing be so
 13   designated without a good faith belief that it has been maintained in a confidential,
 14   non-public manner, and there is good cause why it should not be part of the public
 15   record of this case.
 16   2.       DEFINITIONS
 17            2.1       Action: this pending federal law suit.
 18            2.2       Challenging Party: a Party or Non-Party that challenges the designation
 19   of information or items under this Order.
 20            2.3       “CONFIDENTIAL” Information or Items: information (regardless of
 21   how it is generated, stored or maintained) or tangible things that qualify for protection
 22   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
 23   Cause Statement.
 24            2.4       Counsel: Outside Counsel of Record and House Counsel (as well as
 25   their support staff).
 26            2.5       Designating Party: a Party or Non-Party that designates information or
 27   items that it produces in disclosures or in responses to discovery as
 28   “CONFIDENTIAL.”

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  1            2.6       Disclosure or Discovery Material: all items or information, regardless
  2   of the medium or manner in which it is generated, stored, or maintained (including,
  3   among other things, testimony, transcripts, and tangible things), that are produced or
  4   generated in disclosures or responses to discovery in this matter.
  5            2.7       Expert: a person with specialized knowledge or experience in a matter
  6   pertinent to the litigation who has been retained by a Party or its counsel to serve as
  7   an expert witness or as a consultant in this Action.
  8            2.8       House Counsel: attorneys who are employees of a party to this Action.
  9   House Counsel does not include Outside Counsel of Record or any other outside
 10   counsel.
 11            2.9       Non-Party: any natural person, partnership, corporation, association, or
 12   other legal entity not named as a Party to this action.
 13            2.10 Outside Counsel of Record: attorneys who are not employees of a party
 14   to this Action but are retained to represent or advise a party to this Action and have
 15   appeared in this Action on behalf of that party or are affiliated with a law firm which
 16   has appeared on behalf of that party, and includes support staff.
 17            2.11 Party: any party to this Action, including all of its officers, directors,
 18   employees, consultants, retained experts, and Outside Counsel of Record (and their
 19   support staffs).
 20            2.12 Producing Party: a Party or Non-Party that produces Disclosure or
 21   Discovery Material in this Action.
 22            2.13 Professional Vendors: persons or entities that provide litigation support
 23   services (e.g., photocopying, videotaping, translating, preparing exhibits or
 24   demonstrations, and organizing, storing, or retrieving data in any form or medium)
 25   and their employees and subcontractors.
 26            2.14 Protected Material: any Disclosure or Discovery Material that is
 27   designated as “CONFIDENTIAL.”
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  1            2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
  2   from a Producing Party.
  3   3.       SCOPE
  4            The protections conferred by this Stipulation and Order cover not only
  5   Protected Material (as defined above), but also (1) any information copied or
  6   extracted from Protected Material; (2) all copies, excerpts, summaries, or
  7   compilations of Protected Material; and (3) any testimony, conversations, or
  8   presentations by Parties or their Counsel that might reveal Protected Material.
  9            Any use of Protected Material at trial shall be governed by the orders of the
 10   trial judge. This Order does not govern the use of Protected Material at trial.
 11   4.       DURATION
 12            Even after final disposition of this litigation, the confidentiality obligations
 13   imposed by this Order shall remain in effect until a Designating Party agrees
 14   otherwise in writing or a court order otherwise directs. Final disposition shall be
 15   deemed the later of (1) dismissal of all claims and defense in this Action, with or
 16   without prejudice; and (2) final judgment herein after the completion and exhaustion
 17   of all appeals, rehearing, remands, trials, or reviews of this Action, including the time
 18   limits for filing any motions or applications for extensions of time pursuant to
 19   applicable law.
 20   5.       DESIGNATING PROTECTED MATERIAL
 21            5.1       Exercise of Restraint and Care in Designating Material for Protection.
 22   Each Party or Non-Party that designates information or items for protection under
 23   this Order must take care to limit any such designation to specific material that
 24   qualifies under the appropriate standards. The Designating Party must designate for
 25   protection only those parts of material, documents, items, or oral or written
 26   communications that qualify so that other portions of the material, documents, items,
 27   or communications for which protection is not warranted are not swept unjustifiably
 28   within the ambit of this Order.

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  1            Mass, indiscriminate, or routinized designations are prohibited. Designations
  2   that are shown to be clearly unjustified or that have been made for an improper
  3   purpose (e.g., to unnecessarily encumber the case development process or to impose
  4   unnecessary expenses and burdens on other parties) may expose the Designating
  5   Party to sanctions.
  6            If it comes to a Designating Party’s attention that information or items that it
  7   designated for protection do not qualify for protection, that Designating Party must
  8   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  9            5.2       Manner and Timing of Designations. Except as otherwise provided in
 10   this Order (see, e.g., section 5.3 and second paragraph of section 5.2(a) below), or as
 11   otherwise stipulated or ordered, Disclosure or Discovery Material that qualifies for
 12   protection under this Order must be clearly so designated before the material is
 13   disclosed or produced.
 14            Designation in conformity with this Order requires:
 15                      (a)   for information in documentary form (e.g., paper or electronic
 16   documents, but excluding transcripts of depositions or other pretrial or trial
 17   proceedings), that the Producing Party affix at a minimum, the legend
 18   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
 19   contains protected material. If only a portion or portions of the material on a page
 20   qualifies for protection, the Producing Party also must clearly identify the protected
 21   portion(s) (e.g., by making appropriate markings in the margins).
 22            A Party or Non-Party that makes original documents available for inspection
 23   need not designate them for protection until after the inspecting Party has indicated
 24   which documents it would like copied and produced. During the inspection and
 25   before the designation, all of the material made available for inspection shall be
 26   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
 27   it wants copied and produced, the Producing Party must determine which documents,
 28   or portions thereof, qualify for protection under this Order. Then, before producing

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  1   the specified documents, the Producing Party must affix the “CONFIDENTIAL
  2   legend” to each page that contains Protected Material. If only a portion or portions
  3   of the material on a page qualifies for protection, the Producing Party also must
  4   clearly identify the protected portion(s) (e.g., by making appropriate markings in the
  5   margins).
  6                      (b)   for testimony given in depositions that the Designating Party
  7   identify the Disclosure or Discovery Material on the record, before the close of the
  8   deposition all protected testimony.
  9                      (c)   for information produced in some form other than documentary
 10   and for any other tangible items, that the Producing Party affix in a prominent place
 11   on the exterior of the container or containers in which the information is stored the
 12   legend “CONFIDENTIAL.” If only a portion or portions of the information warrants
 13   protection, the Producing Party, to the extent practicable, shall identify the protected
 14   portion(s).
 15            5.3       Designation of Previously Produced Documents. Within fourteen (14)
 16   days of the entry of this Order, or within such longer time period as the Parties agree
 17   to, a Party that has produced Disclosure or Discovery Material before the effective
 18   date of this protective order may retroactively designate appropriate Disclosure or
 19   Discovery Material for protection under this Order.
 20            To retroactively designate Disclosure or Discovery Material, the Producing
 21   Party shall:
 22            (1) inform the Receiving Party of the Bates numbers or number ranges of the
 23   previously produced Disclosure or Discovery Material, and the Receiving Party shall,
 24   after receipt of the replacement images as detailed in (2) below, thereafter destroy or
 25   segregate these documents; and
 26            (2) provide replacement versions or pages of the previously produced
 27   Disclosure or Discovery Material           with confidentiality designations made in
 28   conformance with the requirements of Section 5.2, above.

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  1            5.4       Inadvertent Failures to Designate. If timely corrected, an inadvertent
  2   failure to designate qualified information or items does not, standing alone, waive
  3   the Designating Party’s right to secure protection under this Order for such material.
  4   Upon timely correction of a designation, the Receiving Party must make reasonable
  5   efforts to assure that the material is treated in accordance with the provisions of this
  6   Order.
  7   6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
  8            6.1       Timing of Challenges. Any Party or Non-Party may challenge a
  9   designation of confidentiality at any time that is consistent with the Court’s
 10   Scheduling Order.
 11            6.2       Meet and Confer. The Challenging Party shall initiate the dispute
 12   resolution process under Local Rule 37.1 et seq.
 13            6.3       The burden of persuasion in any such challenge proceeding shall be on
 14   the Designating Party. Frivolous challenges, and those made for an improper purpose
 15   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 16   expose the Challenging Party to sanctions. Unless the Designating Party has waived
 17   or withdrawn the confidentiality designation, all parties shall continue to afford the
 18   material in question the level of protection to which it is entitled under the Producing
 19   Party’s designation until the Court rules on the challenge.
 20   7.       ACCESS TO AND USE OF PROTECTED MATERIAL
 21            7.1       Basic Principles. A Receiving Party may use Protected Material that is
 22   disclosed or produced by another Party or by a Non-Party in connection with this
 23   Action only for prosecuting, defending, or attempting to settle this Action. Such
 24   Protected Material may be disclosed only to the categories of persons and under the
 25   conditions described in this Order. When the Action has been terminated, a Receiving
 26   Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
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  1            Protected Material must be stored and maintained by a Receiving Party at a
  2   location and in a secure manner that ensures that access is limited to the persons
  3   authorized under this Order.
  4            7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless
  5   otherwise ordered by the court or permitted in writing by the Designating Party, a
  6   Receiving          Party     may     disclose   any    information   or   item    designated
  7   “CONFIDENTIAL” only to:
  8                      (a)     the Receiving Party’s Outside Counsel of Record in this Action,
  9   as well as employees of said Outside Counsel of Record to whom it is reasonably
 10   necessary to disclose the information for this Action;
 11                      (b)     the officers, directors, and employees (including House Counsel)
 12   of the Receiving Party to whom disclosure is reasonably necessary for this Action;
 13                      (c)     Experts (as defined in this Order) of the Receiving Party to whom
 14   disclosure is reasonably necessary for this Action and who have signed the
 15   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 16                      (d)     the court and its personnel;
 17                      (e)     court reporters and their staff;
 18                      (f)     professional jury or trial consultants, mock jurors, and
 19   Professional Vendors to whom disclosure is reasonably necessary for this Action and
 20   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 21                      (g)     the author or recipient of a document containing the information
 22   or a custodian or other person who otherwise possessed or knew the information;
 23                      (h)     during their depositions, witnesses , and attorneys for witnesses,
 24   in the Action to whom disclosure is reasonably necessary provided: (1) the deposing
 25   party requests that the witness sign or agree on the record to abide by the form
 26   attached as Exhibit A hereto; and (2) they will not be permitted to keep any
 27   confidential information unless they sign the “Acknowledgment and Agreement to
 28   Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or ordered

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   1   by the court. Pages of transcribed deposition testimony or exhibits to depositions that
   2   reveal Protected Material may be separately bound by the court reporter and may not
   3   be disclosed to anyone except as permitted under this Stipulated Protective Order;
   4                      (i)   any mediator or settlement officer, and their supporting
   5   personnel, mutually agreed upon by any of the Parties engaged in settlement
   6   discussions; and
   7                      (j)   as agreed to in writing by the Parties
   8   8.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   9            IN OTHER LITIGATION
  10            If a Party is served with a subpoena or a court order issued in other litigation
  11   that compels disclosure of any information or items designated in this Action as
  12   “CONFIDENTIAL,” that Party must:
  13                      (a)   promptly notify in writing the Designating Party. Such
  14   notification shall include a copy of the subpoena or court order;
  15                      (b)   promptly notify in writing the Party who caused the subpoena or
  16   order to issue in the other litigation that some or all of the material covered by the
  17   subpoena or order is subject to this Protective Order. Such notification shall include
  18   a copy of this Stipulated Protective Order; and
  19                      (c)   cooperate with respect to all reasonable procedures sought to be
  20   pursued by the Designating Party whose Protected Material may be affected.
  21            If the Designating Party timely seeks a protective order, the Party served with
  22   the subpoena or court order shall not produce any information designated in this
  23   action as “CONFIDENTIAL” before a determination by the court from which the
  24   subpoena or order issued, unless the Party has obtained the Designating Party’s
  25   permission. The Designating Party shall bear the burden and expense of seeking
  26   protection in that court of its confidential material and nothing in these provisions
  27   should be construed as authorizing or encouraging a Receiving Party in this Action
  28   to disobey a lawful directive from another court.

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   1   9.       A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   2            PRODUCED IN THIS LITIGATION
   3                      (a)   The terms of this Order are applicable to information produced
   4   by a Non-Party in this Action and designated as “CONFIDENTIAL.” Such
   5   information produced by Non-Parties in connection with this litigation is protected
   6   by the remedies and relief provided by this Order. Nothing in these provisions should
   7   be construed as prohibiting a Non-Party from seeking additional protections.
   8                      (b)   In the event that a Party is required, by a valid discovery request,
   9   to produce a Non-Party’s confidential information in its possession, and the Party is
  10   subject to an agreement with the Non-Party not to produce the Non-Party’s
  11   confidential information, then the Party shall:
  12                            (1)   promptly notify in writing the Requesting Party and the
  13   Non-Party that some or all of the information requested is subject to a confidentiality
  14   agreement with a Non-Party;
  15                            (2)   promptly provide the Non-Party with a copy of the
  16   Stipulated Protective Order in this Action, the relevant discovery request(s), and a
  17   reasonably specific description of the information requested; and
  18                            (3)   make the information requested available for inspection by
  19   the Non-Party, if requested.
  20                      (c)   If the Non-Party fails to seek a protective order from this court
  21   within 14 days of receiving the notice and accompanying information, the Receiving
  22   Party may produce the Non-Party’s confidential information responsive to the
  23   discovery request. If the Non-Party timely seeks a protective order, the Receiving
  24   Party shall not produce any information in its possession or control that is subject to
  25   the confidentiality agreement with the Non-Party before a determination by the court.
  26   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
  27   of seeking protection in this court of its Protected Material.
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   1   10.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   2            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   3   Protected Material to any person or in any circumstance not authorized under this
   4   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
   5   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
   6   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
   7   persons to whom unauthorized disclosures were made of all the terms of this Order,
   8   and (d) request such person or persons to execute the “Acknowledgment and
   9   Agreement to Be Bound” that is attached hereto as Exhibit A.
  10   11.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  11            PROTECTED MATERIAL
  12            When a Producing Party gives notice to Receiving Parties that certain
  13   inadvertently produced material is subject to a claim of privilege or other protection,
  14   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  15   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
  16   may be established in an e-discovery order that provides for production without prior
  17   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
  18   parties reach an agreement on the effect of disclosure of a communication or
  19   information covered by the attorney-client privilege or work product protection, the
  20   parties may incorporate their agreement in the stipulated protective order submitted
  21   to the court.
  22   12.      MISCELLANEOUS
  23            12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  24   person to seek its modification by the Court in the future.
  25            12.2 Right to Assert Other Objections. By stipulating to the entry of this
  26   Protective Order no Party waives any right it otherwise would have to object to
  27   disclosing or producing any information or item on any ground not addressed in this
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   1   Stipulated Protective Order. Similarly, no Party waives any right to object on any
   2   ground to use in evidence of any of the material covered by this Protective Order.
   3            12.3 Filing Protected Material. A Party that seeks to file under seal any
   4   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   5   only be filed under seal pursuant to a court order authorizing the sealing of the
   6   specific Protected Material at issue. If a Party’s request to file Protected Material
   7   under seal is denied by the court, then the Receiving Party may file the information
   8   in the public record unless otherwise instructed by the court.
   9   13.      FINAL DISPOSITION
  10            After the final disposition of this Action, as defined in paragraph 4, within 60
  11   days of a written request by the Designating Party, each Receiving Party must return
  12   all Protected Material to the Producing Party or destroy such material. As used in this
  13   subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  14   summaries, and any other format reproducing or capturing any of the Protected
  15   Material. Whether the Protected Material is returned or destroyed, the Receiving
  16   Party must submit a written certification to the Producing Party (and, if not the same
  17   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
  18   (by category, where appropriate) all the Protected Material that was returned or
  19   destroyed and (2) affirms that the Receiving Party has not retained any copies,
  20   abstracts, compilations, summaries or any other format reproducing or capturing any
  21   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
  22   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
  23   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
  24   reports, attorney work product, and consultant and expert work product, even if such
  25   materials contain Protected Material. Any such archival copies that contain or
  26   constitute Protected Material remain subject to this Protective Order as set forth in
  27   Section 4 (DURATION).
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   1            14.       Any violation of this Order may be punished by any and all appropriate
   2   measures including, without limitation, contempt proceedings and/or monetary
   3   sanctions.
   4
   5   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

   6
       Dated: June 17, 2021                            BEST BEST & KRIEGER LLP
   7
   8
   9                                                   By: /s/ Daniel L. Richards
                                                          JEFFREY V. DUNN
  10                                                      CHRISTOPHER E. DEAL
  11                                                      DANIEL L. RICHARDS
                                                          KARA L. CORONADO
  12
  13                                                       Attorneys for Plaintiffs
                                                           Western Riverside Council of
  14                                                       Governments and the City of
  15                                                       Beaumont
  16   Dated: June 17, 2021                            GORDON REES SCULLY
  17                                                   MANSUKHANI LLP
  18
  19                                                   By: /s/ Katherine A. Musbach
  20                                                      KATHERINE A. MUSBACH
                                                          CHRISTINA R. SPIEZIA
  21                                                      SCOTT L. SCHMOOKLER
  22                                                      IGA W. TODD
  23                                                       Attorneys for Defendant
  24                                                       National Union Fire Insurance
                                                           Company of Pittsburgh, Pa.
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                                                     14            STIPULATED PROTECTIVE ORDER
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   1                               SIGNATURE ATTESTATION
   2            Pursuant to Local Rule 5-4.3.4, I hereby attest that all signatories listed
   3   above, on whose behalf this stipulation is submitted, concur in the filing’s content
   4   and have authorized the filing.
   5
   6   Dated: June 17, 2021                           BEST BEST & KRIEGER LLP
   7
   8                                                  By: /s/ Daniel L. Richards
   9                                                     JEFFREY V. DUNN
                                                         CHRISTOPHER E. DEAL
  10                                                     DANIEL L. RICHARDS
  11                                                     KARA L. CORONADO
  12                                                      Attorneys for Plaintiffs
  13                                                      Western Riverside Council of
                                                          Governments and the City of
  14                                                      Beaumont
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   1   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   2
       DATED: June 17, 2021
   3
   4   ___________________________________
   5   Honorable Kenly Kiya Kato
       United States Magistrate Judge
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                                           16            STIPULATED PROTECTIVE ORDER
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   1                                         EXHIBIT A
   2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3
   4
       I, ________________________ [print or type full name], of
   5   ________________________ [print or type full address], declare under penalty of
       perjury that I have read in its entirety and understand the Stipulated Protective
   6   Order that was issued by the United States District Court for the Central District of
       California on ____________ [date] in the case of WESTERN RIVERSIDE
   7   COUNCIL OF GOVERNMENTS v. NATIONAL UNION FIRE INSURANCE
       COMPANY OF PITTSBURGH, PA. I agree to comply with and to be bound by all
   8   the terms of this Stipulated Protective Order and I understand and acknowledge that
       failure to so comply could expose me to sanctions and punishment in the nature of
   9   contempt. I solemnly promise that I will not disclose in any manner any
       information or item that is subject to this Stipulated Protective Order to any person
  10   or entity except in strict compliance with the provisions of this Order. I further
       agree to submit to the jurisdiction of the United States District Court for the Central
  11   District of California for the purpose of enforcing the terms of this Stipulated
       Protective Order, even if such enforcement proceedings occur after termination of
  12   this action. I hereby appoint ________________________ [print or type full name]
       of ________________________ [print or type full address and telephone number]
  13   as my California agent for service of process in connection with this action or any
       proceedings related to enforcement of this Stipulated Protective Order.
  14
  15
       Date: _______________________________
  16
       City and State where sworn and signed:         ___________________________
  17
  18   Printed name:            _____________________
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       Signature:         __________________________
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                                                 17             STIPULATED PROTECTIVE ORDER
